Case 9:17-bk-11830-DS   Doc 94 Filed 07/05/18 Entered 07/05/18 09:31:07   Desc
                         Main Document     Page 1 of 5
Case 9:17-bk-11830-DS   Doc 94 Filed 07/05/18 Entered 07/05/18 09:31:07   Desc
                         Main Document     Page 2 of 5
Case 9:17-bk-11830-DS   Doc 94 Filed 07/05/18 Entered 07/05/18 09:31:07   Desc
                         Main Document     Page 3 of 5
Case 9:17-bk-11830-DS   Doc 94 Filed 07/05/18 Entered 07/05/18 09:31:07   Desc
                         Main Document     Page 4 of 5
Case 9:17-bk-11830-DS   Doc 94 Filed 07/05/18 Entered 07/05/18 09:31:07   Desc
                         Main Document     Page 5 of 5
